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                          IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

    In re:                                                                 Chapter 11

    WOODBRIDGE GROUP OF COMPANIES,                                         Case No. 17-12560 (JKS)
    LLC, et al.,1
                                                                           (Jointly Administered)
                                   Remaining Debtors.


    MICHAEL GOLDBERG, as Liquidating Trustee of
    the Woodbridge Liquidation Trust, successor in
    interest to the estate of Woodbridge Group of
    Companies, LLC, et al.,

                                        Plaintiff,
                                                                          Adv. Proc. Case No. 19-51027 (JKS)
                              v.

    Kenneth Halbert,

                                        Defendant.


                  NOTICE OF HEARING SCHEDULED FOR JULY 7, 2022 AT
               1:00 P.M. (EASTERN TIME) REGARDING DISCOVERY DISPUTE



                    ANY PARTY WISHING TO PARTICIPATE IN THE HEARING
                            MUST REGISTER THROUGH ZOOM.

             Please see below for the connection and registration information regarding the
              July 7, 2022 hearing. Please Note: All participants must register prior to the
                 hearing at the provided link. The Court is asking all parties to register
                             no later than Wednesday, 7/6/2022 at 4:00 p.m.

                                                     Registration Link:

    https://debuscourts.zoomgov.com/meeting/register/vJIscOyrqD8iGDEyGY4m2l2jwpR_t-BRf1g



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    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
    Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
    Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.


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                    After registering, you will receive a confirmation email
                             containing information about joining.

                       Reminder: Since the audio will be provided by Zoom,
                                   CourtCall will not be used.



              PLEASE TAKE NOTICE that a hearing regarding a discovery dispute between

the parties in the above-captioned matter will be held on July 7, 2022 at 1:00 p.m. prevailing

Eastern Time, before the Honorable J. Kate Stickles, United States Bankruptcy Judge, via

Zoom. Any participants should register through the link above no later than 4:00 p.m. (Eastern

Time) on July 6, 2022.



 Dated: July 5, 2022                   PACHULSKI STANG ZIEHL & JONES LLP

                                       /s/ Colin R. Robinson
                                       Bradford J. Sandler (DE Bar No. 4142)
                                       Andrew W. Caine (CA Bar No. 110345)
                                       Colin R. Robinson (DE Bar No. 5524)
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                                       Counsel to Plaintiff Michael Goldberg, as Liquidating
                                       Trustee of the Woodbridge Liquidation Trust




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